     Case 2:22-cv-02147-WBS-AC Document 33-1 Filed 02/21/23 Page 1 of 3


 1

 2

 3

 4

 5

 6

 7

 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12
     LETRINH HOANG, D.O., PHYSICIANS                            2:22-cv-02147-WBS-AC
13   FOR INFORMED CONSENT, a not-for
     profit organization, and CHILDREN’S                        [PROPOSED] ORDER GRANTING
14   HEALTH DEFENSE, CALIFORNIA                                 SECOND STIPULATION TO EXTEND
     CHAPTER, a California Nonprofit                            TIME TO RESPOND TO COMPLAINT
15   Corporation,
16                                            Plaintiffs,
17                   v.
18
     ROB BONTA, in his official capacity as
19   Attorney General of California, and ERIKA
     CALDERON, in her official capacity as
20   Executive Officer of the Osteopathic
     Medical Board of California (“OMBC”),
21
                                           Defendants.
22

23

24

25

26

27

28
                                                            1
      [Proposed] Order Granting Second Stipulation to Extend Time to Respond to Complaint (2:22-cv-02147-WBS-AC)
     Case 2:22-cv-02147-WBS-AC Document 33-1 Filed 02/21/23 Page 2 of 3


 1           Pursuant to the parties’ stipulation, it is HEREBY ORDERED THAT:

 2

 3           Defendants’ responses to the Complaint will be due thirty (30) days after the date

 4           the United States Court of Appeals for the Ninth Circuit in the consolidated appeals

 5           of McDonald, et al. v. Lawson, et al., Appeal No. 22-56220, and Couris, et al. v.

 6           Lawson, et al., Appeal No. 23-55069, issues its mandate.

 7

 8   IT IS SO ORDERED.

 9
     Dated: ________________                                    ___________________________________
10                                                              HONORABLE WILLIAM B. SHUBB
11                                                              UNITED STATES DISTRICT JUDGE

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                                         2
      [Proposed] Order Granting Second Stipulation to Extend Time to Respond to Complaint (2:22-cv-02147-WBS-AC)
       Case 2:22-cv-02147-WBS-AC Document 33-1 Filed 02/21/23 Page 3 of 3



                              CERTIFICATE OF SERVICE

CASE NAME:            HOANG, ET AL. V. BONTA

USDC CASE NO.          2:22-CV-02147-WBS-AC

I hereby certify that on February 21, 2023, I electronically filed the following documents with
the Clerk of the Court by using the CM/ECF system:

1. [PROPOSED] ORDER


I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on February
21, 2023, at Los Angeles, California.


            Naadirah Crawford
                Declarant                                            Signature

LA2022604122
65764059.docx
